Docusign Envelope ID: 0E296A5F-076A-4DC2-831A-D5B4689BD3F0
                     Case 1:24-cv-10049-LJL            Document 372   Filed 06/23/25   Page 1 of 2




                                          UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF NEW YORK


            BLAKE LIVELY,

                                              Plaintiff,
                     v.
                                                                      No. 1:24-cv-10049-LJL
            WAYFARER STUDIOS LLC, a Delaware Limited                  (Consolidated with 1:25-cv-00449-
            Liability Company, JUSTIN BALDONI, an                     LJL)
            individual, JAMEY HEATH, an individual,                   rel. 1:25-cv-00779-LJL
            STEVE SAROWITZ, an individual, IT ENDS
            WITH US MOVIE LLC, a California Limited
            Liability Company, MELISSA NATHAN, an
            individual, THE AGENCY GROUP PR LLC, a
            Delaware Limited Liability Company, JENNIFER
            ABEL, an individual, JED WALLACE, an
            individual, and STREET RELATIONS INC., a
            California Corporation,

                                              Defendants.



            WAYFARER STUDIOS LLC, a Delaware Limited
            Liability Company, JUSTIN BALDONI, an
            individual, JAMEY HEATH, an individual, IT
            ENDS WITH US MOVIE LLC, a California
            Limited Liability Company, MELISSA NATHAN,
            an individual, JENNIFER ABEL, an individual,
            and STEVE SAROWITZ, an individual,

                                              Plaintiffs,
                     v.

            BLAKE LIVELY, an individual, RYAN
            REYNOLDS, an individual, LESLIE SLOANE, an
            individual, VISION PR, INC., a New York
            Corporation, and THE NEW YORK TIMES
            COMPANY, a New York Corporation,

                                              Defendants.
Docusign Envelope ID: 0E296A5F-076A-4DC2-831A-D5B4689BD3F0
                     Case 1:24-cv-10049-LJL            Document 372       Filed 06/23/25       Page 2 of 2




                                           DECLARATION OF LESLIE SLOANE

            I, Leslie Sloane, declare as follows:

                 1. I have personal knowledge of the facts set forth herein.

                 2. I was born and raised in New York. I work out of New York, and my relationship with

                     Blake Lively is centered in New York.

                 3. As result of the Wayfarer Parties’ meritless claims against me, I have received an onslaught

                     of public ridicule and intimidating messages. My involvement in this litigation has caused

                     me severe emotional, physical, and professional damage.

                 4. The first time I discussed Ms. Lively’s sexual harassment allegations with a journalist was

                     when Melissa Nathan’s sister, Sara Nathan, texted me on August 8, 2024, saying she heard

                     about “three things” that Justin Baldoni did on set that were, in her words, “all a bit creepy.”

                     Then, on August 11, 2024, Sara Nathan forwarded me an anonymous “tip” that Page Six

                     had received which said, among other things, that Justin Baldoni made Ms. Lively

                     “uncomfortable” on set.

                 5. Contrary to the Wayfarer Parties’ allegations, I never told James Vituscka that Ms. Lively

                     was sexually assaulted by Justin Baldoni or anyone else.



            I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge

            and belief.


            Dated: June 22, 2025                                             ________________________
                                                                             Leslie Sloane
